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                                                                               09/21/18
                                                                                  09/21/18Page
                                                                                            Page
                                                                                               1 of1 3of 3


                               1   LATHAM & WATKINS LLP
                                     Melanie M. Blunschi (Bar No. 234264)
                               2       melanie.blunschi@lw.com
                                   505 Montgomery Street, Suite 2000
                               3   San Francisco, California 94111
                                   Telephone: +1.415.391.0600
                               4   Facsimile: +1.415.395.8095

                               5   LATHAM & WATKINS LLP
                                     Matthew T. Murchison (pro hac vice to be filed)
                               6       matthew.murchison@lw.com
                                     Natalie Hardwick Rao (pro hac vice to be filed)
                               7       natalie.rao@lw.com
                                     Adam J. Tuetken (pro hac vice to be filed)
                               8       adam.tuetken@lw.com
                                   555 Eleventh Street, N.W., Suite 1000
                               9   Washington, D.C. 20004-1304
                                   Telephone: +1.202.637.2200
                          10       Facsimile: +1.202.637.2201

                          11       Attorneys for Defendants
                                   Caesars Entertainment Corporation and Desert
                          12       Palace, LLC d/b/a Caesars Palace Hotel & Casino

                          13
                                                                 UNITED STATES DISTRICT COURT
                          14
                                                          NORTHERN DISTRICT OF CALIFORNIA
                          15

                          16
                                   JUSTIN CASTILLO, as an individual and on       CASE NO. 4:18-cv-5781
                          17       behalf of all others similarly situated,
                                                                                  NOTICE OF REMOVAL OF ACTION
                          18                        Plaintiff,                    UNDER 28 U.S.C. § 1441(A) (FEDERAL
                                                                                  QUESTION)
                          19              v.

                          20       CAESARS ENTERTAINMENT
                                   CORPORATION and DESERT PALACE,
                          21       LLC d/b/a CAESARS PALACE HOTEL &
                                   CASINO,
                          22
                                                    Defendants.
                          23

                          24
                                   TO THE CLERK OF THE COURT AND EACH PARTY IN INTEREST:
                          25

                          26              PLEASE TAKE NOTICE that Defendants Caesars Entertainment Corporation and Desert
                          27       Palace, LLC d/b/a Caesars Palace Hotel & Casino (collectively “Defendants”), by and through
                          28       their counsel, pursuant to 28 U.S.C. §§ 1331, 1441(a), and 1446, hereby timely remove to this
                                                                                                             NOTICE OF REMOVAL
ATTORNEYS AT LAW
S A N F R A N C I S C O , CA
                                                                                                             CASE NO. 4:18-cv-5781
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                                                                               09/21/18
                                                                                  09/21/18Page
                                                                                            Page
                                                                                               2 of2 3of 3


                               1   Court an action originally filed in the Superior Court of California for the County of Marin, with

                               2   case number CIV-1802716, and set forth in support of their Notice of Removal of Action the

                               3   following:

                               4          1.      On August 2, 2018, Plaintiff Justin Castillo (“Plaintiff”) filed a Complaint, as an

                               5   individual and on behalf of all others similarly situated, in the Superior Court of California for

                               6   the County of Marin, captioned Justin Castillo v. Caesars Entertainment Corporation and Desert

                               7   Palace, LLC dba Caesars Palace Hotel & Casino, Case No. CIV-1802716. See Ex. A, Compl.

                               8   Service of the Complaint and Summons was made on Caesars on August 22, 2018. See Ex. B,

                               9   Proof of Service.

                          10              2.      The Complaint sets forth a single claim alleging that Defendants violated a federal

                          11       statute, the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, which provides a

                          12       private right of action. See Ex. A, Compl. ¶¶ 31-36. Thus, Plaintiff’s claim plainly arises under

                          13       federal law and is removable to this Court. See 28 U.S.C. §§ 1331, 1441(a); see also Mims v.

                          14       Arrow Fin. Servs., LLC, 565 U.S. 368, 377-78 (2012) (holding that claims brought under the

                          15       TCPA “arise under” federal law and that federal courts have original jurisdiction pursuant to 28

                          16       U.S.C. § 1331 over such claims).

                          17              3.      The action is properly removable to this Division because it was filed in the

                          18       Superior Court of California for the County of Marin. See Civil L.R. 3-2(d).

                          19              4.      This Notice is timely because Defendants are filing this Notice within thirty days

                          20       after service of original process on August 22, 2018. See 28 U.S.C. § 1446(b)(1); see also
                          21       Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999) (“[I]f the complaint
                          22       is filed in court prior to any service, the removal period runs from the service of the summons.”).
                          23              5.      To date, Defendants have not appeared in the Superior Court of California for the
                          24       County of Marin and are not aware of any other filings in that court.
                          25              6.      No deadlines related to Defendants have passed or expired in the Superior Court

                          26       of California for the County of Marin.

                          27              7.      Caesars Entertainment Corporation and Desert Palace, LLC are the only

                          28       defendants in this action, and thus do not need the consent of any other party to remove to

                                                                                                                  NOTICE OF REMOVAL
ATTORNEYS AT LAW
S A N F R A N C I S C O , CA                                                         2                            CASE NO. 4:18-cv-5781
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                                                                               09/21/18
                                                                                  09/21/18Page
                                                                                            Page
                                                                                               3 of3 3of 3


                               1   federal court.

                               2          8.        By filing this Notice, Defendants do not admit any of the allegations in the

                               3   Complaint and do not waive any potential defenses available upon removal including, but not

                               4   limited to, challenging personal jurisdiction, seeking to transfer venue, seeking to enforce an

                               5   arbitration agreement, or seeking dismissal for failure to state a claim.

                               6          9.        A true and correct copy of this Notice will also be filed on this same date with the

                               7   Clerk of the Superior Court of California for the County of Marin.

                               8          10.       This Notice of Removal is signed pursuant to Federal Rule of Civil Procedure 11,

                               9   as required by 28 U.S.C. § 1446(a).

                          10

                          11       Dated: September 21, 2018                          Respectfully submitted,

                          12                                                          LATHAM & WATKINS LLP
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                          14                                                          By /s/ Melanie M. Blunschi
                                                                                         Melanie M. Blunschi (Bar No. 234264)
                          15
                                                                                          505 Montgomery Street, Suite 2000
                          16                                                              San Francisco, California 94111
                                                                                          Telephone: +1.415.391.0600
                          17                                                              melanie.blunschi@lw.com
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                                                                                          555 Eleventh Street, N.W., Suite 1000
                          20                                                              Washington, D.C. 20004-1304
                                                                                          Telephone: +1.202.637.2200
                          21                                                              matthew.murchison@lw.com
                                                                                          natalie.rao@lw.com
                          22                                                              adam.tuetken@lw.com
                          23                                                              Attorneys for Defendants
                                                                                          Caesars Entertainment Corporation and
                          24                                                              Desert Palace, LLC d/b/a Caesars Palace
                                                                                          Hotel & Casino
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                                                                                                                    NOTICE OF REMOVAL
ATTORNEYS AT LAW
S A N F R A N C I S C O , CA                                                          3                             CASE NO. 4:18-cv-5781
